Dear Mr. Durbin:
You have asked this office to determine whether a fireman employed on a part-time basis by the Board of Commissioners is legally required to be placed in the civil service system.
LSA-Const. Art. X, Section 16 (1974) provides for the establishment of a classified fire and police civil service system which is applicable "to all municipalities having a population exceeding thirteen thousand and operating a regularly paid fire and municipal police department and to all parishes and fire protection districts operating a regularly paid fire department."
You advise that the threshold requirement of LSA-Const. Art. X, Section 16 (1974) is met i.e., that the Fire Protection District No. 4 of Livingston Parish does operate a "regularly paid fire department" and that a civil service system has been established in which is enrolled five full-time dispatchers and one full-time secretary. You ask whether part-time firemen who are proposed to be hired by the governing board of the district should be considered as classified civil service employees.
Our answer is in the affirmative, if the position is allocated as a primary responsibility or duty one of those duties described in R.S. 33:2541(A) (1-9), providing:
      2541. Classified and unclassified service
      A. The classified service shall comprise every position, except those included in the unclassified service, to which the right of employee selection, appointment, supervision, and discharge is vested in the government of the municipality, parish or fire protection district as the case may be, under which the fire or police service functions, or in an officer or employee thereof, and which has as its primary duty and responsibility one of the following:
      (Fire)
      1. The chief and assistant chiefs; the intradepartmental division, bureau, squad, platoon and company officers of the fire and police department.
      2. Fire fighting and police.
      3. Fire prevention; inspection.
      4. Driving, tillering and operation of fire apparatus.
      5. Operation and maintenance of radio, fire alarm or signal system.
      6. Fire and policy department instructors in employee training.
      7. Fire salvage and overhauling services, and first aid.
      8. Automotive or fire and police apparatus repairs, if such service is operated exclusively by and for the fire and police department.
      9. Secretary to the chief and departmental records clerk.
In accord is Attorney General Opinion 98-267, a copy of which is attached for your review.
We assume from your correspondence that Heintz vs. City ofGretna, 683 So.2d 926 (La.App. 5th Cir. 1996), writ den.683 So.2d 926 (La. 1997) is inapplicable to your inquiry.1
We also forward to you Attorney General Opinions 95-37, 94-441 and 93-728(A), along with Opinion 98-267, for your further review.
Should you have any further questions, please contact this office.
Very truly yours,
                                       RICHARD P. IEYOUB ATTORNEY GENERAL
                                       BY: KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
KLK:ams Opinion 99-41
1 Of concern in Heintz was the predicate issue of whether the municipality operated a "regularly paid fire department", which we understand is not at issue in the current matter.
                           STATE OF LOUISIANA DEPARTMENT OF JUSTICE BATON ROUGE 70804-9005 P.O. Box 94005 RICHARD P. IEYOUB                            TEL.:(504) 342-7013 ATTORNEY GENERAL                             FAX.:(504) 342-7335                          OPINION NUMBER 95-37                            February 9, 1995
A fire Protection having three full-time paid firefighters must be placed in Civil Service.
R.S. 33:2543
Art. X, Sec. 16, La. Const. 47-A-1 Fire Protection District
Thomas O. Wells, Esq. Assistant District Attorney Ninth Judicial District P.O. Box Drawer 1472 Alexandria, LA 71309
This office is in receipt of your request for an opinion of the Attorney General on behalf of the Rapides Parish Police Jury in regard to firefighters in the Rapides Parish Fire Protection District # 3. You indicate there are three full-time firefighters in the Protection District and the Rapides Parish Police Jury asks if this constitutes a "regularly paid fire department" as used in Art. X, Sec. 16 of the Constitution so as to require that the firefighters be classified civil service employees.
As you recognize this office has previously rendered Attorney General Opinions relative to this subject for you state you have advised the Police Jury of Atty. Gen. Op. Nos. 94-122, 93-728 and 93-728 (A). This office in the more recent opinion Atty. Gen. Op. No. 94-441 reaffirmed Atty. Gen. Op. No. 93-728 and 782 (A) which had concluded by the use of the word "shall" in Art. X, Sec. 16 of the Constitution of 1974, a fire and police civil service system is mandatory for a "fire protection district operating a regularly paid fire department", and followed the interpretation of the State Examiner that where there is only one or two full-time firefighters there is a requirement for civil service. This was in accord with the conclusions of this office in Atty. Gen. Op. No. 93-354 that "a fire protection district operating a regularly paid fire department is required to created a classified fire and police civil service system."
In Atty. Gen. Op. No. 94-441 the question was presented whether the Iberia Parish Council or the Fire Protection District No. 1 had the authority to establish a civil service system for the employees of the fire district. This office relied upon R.S.33:2543 which provides that "each board shall adopt a classification plan for the fire and police service under its jurisdiction" and found the Board of the Fire Protection District having a "regularly paid fire department" is to establish Civil Service for the full-time paid firefighters. *Page 2 
We hope this sufficiently answers your question, but if we can be of further assistance, do not hesitate to contact us.
Sincerely yours,
                                       RICHARD P. IEYOUB Attorney General
                                       By: BARBARA B. RUTLEDGE
Assistant Attorney General
BBR
                           STATE OF LOUISIANA DEPARTMENT OF JUSTICE BATON ROUGE 70804-9005 P.O. Box 94005 RICHARD P. IEYOUB                            TEL.:(504) 342-7013 ATTORNEY GENERAL                             FAX.:(504) 342-7335                          OPINION NUMBER 94-441                             October 3, 1994
The Board of the Fire Protection District having a regularly paid fire department is to establish the Civil Service for the full-time firefighters.
R.S. 33:2543
Art. X, Sec. 16, La. Const. 47-A-1 — Fire Protection District
Ms. Diane B. Phillips Clerk of Council Iberia Parish Council Courthouse Bldg., Suite 410 300 Iberia Street New Iberia, LA 70560-4543